              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 1 of 22




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             UNITED STATES OF AMERICA )
                                      )                    CRIMINAL ACTION FILE
                 v.                   )
                                      )                    NO. 1:14-CR-293-TCB/AJB
             CHARLES BASKIN,          )
                                      )
                          Defendant.  )

                          UNITED STATES MAGISTRATE JUDGE’S ORDER
                          AND FINAL REPORT AND RECOMMENDATION

                   Defendant Charles Baskin is charged in a three-count indictment with possession

             with intent to distribute cocaine (Count One), possession of a firearm in furtherance of

             a drug trafficking crime (Count Two), and possession of a firearm that affected

             commerce after having been convicted of a felony (Count Three), arising out of the stop

             and search of a vehicle he was operating on October 13, 2013. [Doc. 1]. He moved to

             suppress evidence, [Doc. 13], and statements, [Doc. 14]. The Court held an evidentiary

             hearing, [Doc. 25 (hereinafter “T__”)], after which the parties filed briefs. [Docs. 26




AO 72A
(Rev.8/82)
                  Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 2 of 22




             (Govt.), 27 (Baskin)].1, 2 For the following reasons, the undersigned RECOMMENDS

             that the motions be DENIED.

             I.       Facts

                      On October 10, 2013, ATF Special Agents Allan McLeod and Gabriel Brooks

             were using a confidential source (“CS”)3 to attempt to purchase cocaine from Baskin.

             T6-7. In the days leading up to the transaction, through Facebook, the CS ordered two

             ounces of cocaine from Baskin for $2,000, based on an amount of cocaine suggested

             by the agents. T7, 19, 20, 27-28. The agents also viewed Baskin’s Facebook page.

             T19. On the day of the transaction, the CS telephoned the agents and advised them that

             Baskin was at the agreed-upon location to conduct the sale, the BP station on Ralph


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                          The Court stayed ruling on the motions pending a transfer of Defendant’s
             case to the Eastern District of Tennessee pursuant to pursuant Fed. R. Crim. P. 20,
             [Doc. 29], and subsequently deemed the motions withdrawn. [Doc. 30]. The case was
             reopened and re-referred to the undersigned for a recommended ruling on the
             motions. [Doc. 41].
                      2
                         At the evidentiary hearing, the Government announced that it was not
             going to use any of Baskin’s statements at trial. T3. Accordingly, the undersigned
             RECOMMENDS that Baskin’s motion to suppress statements, [Doc. 13], be DENIED
             AS MOOT.
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                           ATF Special Agent McLeod had used the CS since July 2013. He testified
             that the CS had proven reliable in that his information was verified and led to the arrest
             of multiple state and federal defendants. T6, 17. The CS also tried to set up some deals
             where the suspected sellers did not show up. T17-18.

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 3 of 22




             David Abernathy Boulevard (“RDA”) off of the I-75/I-85 Connector; this location was

             chosen because the CS did not have a car and was within walking distance to his home.

             The CS also described the vehicle Baskin would be driving. T7-8, 20, 28-29. About

             thirty minutes before the deal was to occur, the agents met with and searched the CS

             to make sure he did not have any contraband or currency on him, but then the CS was

             allowed to walk back to his home a few hundred yards away. T18-19.

                   Agents Brooks and McLeod then drove to the BP station and pulled in at the gas

             pumps behind Baskin’s vehicle, a rented, black Dodge Charger. T8, 11.4 Brooks

             recognized Baskin from photographs. T9. Brooks already had an open file on Baskin,

             which included a search warrant at a location associated with Baskin, resulting in the

             seizure of contraband. T7.5 A female also was observed in Baskin’s vehicle. T9, 20.6


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                            The car was rented to Kenny Hill, but Baskin was listed as a secondary
             driver. T16.
                   5
                          Brooks also had information that Baskin was known as a drug trafficker
             in numerous states. T7. Because this information is too general and conclusory, the
             Court does not rely on it in deciding whether probable cause existed to stop Baskin’s
             vehicle and arrest him. Cf. Rivera v. Murphy, 979 F.2d 259, 263-64 (1st Cir. 1992)
             (finding no probable cause for arrest when officer set forth no facts, but only made
             subjective and conclusory statement that based on his “observations, training, and
             experience” he had witnessed a drug transaction).
                   6
                          The agents did not know that a third person was going to be at the deal
             until they saw her in the vehicle. T20.

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 4 of 22




                   The agents had arrived at the BP station before the CS. T9. Uniformed Atlanta

             Police Department (“APD”) and other law enforcement officers also were alerted and

             present in the area. T9. The ATF agents were communicating with these officers. T18.

             The agents watched Baskin sitting in his vehicle at the gas pump for twenty minutes

             before the CS arrived. T29. The agents pumped gas into their car but did not see

             Baskin get out or put gas in his vehicle. T29-30.

                   When the CS arrived, the agents saw the CS get into the back seat of Baskin’s

             car. T9, 21. McLeod first testified that within minutes of the CS’s arrival, while the

             CS was on the phone with the agents, the Charger left the gas station and pulled onto

             RDA, and the CS told the agents that he needed to get the money, which was the pre-

             arranged code to the agents that the CS had seen the cocaine; T10, 22, 30; a marked

             APD police car blue-lighted the Charger while it was on RDA, T31; and Baskin pulled

             his car into the parking lot of the shopping center across the street from the BP station,

             directly in front of the front door of the Museum Bar, where he and the female were

             arrested. T10, 11, 23, 31. However, after reviewing Brooks’s report of the incident,

             McLeod testified that after the CS entered the Charger, the Charger drove off and the

             CS instructed Baskin to go across the street, one hundred to two hundred yards away,

             into the parking lot of the Museum Bar, where the CS called and stated to the agents

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 5 of 22




             to bring the money, and at that point, the takedown signal was given. T10, 33-34.

             Baskin and the female passenger, Ms. Perkins, were arrested. T11. Two ounces of

             cocaine in plastic bags were seen by the APD officers and McLeod in plain view on the

             right passenger floorboard. T11, 23-24.

                   Because the vehicle was parked on private property and Baskin and Perkins were

             arrested, the vehicle was to be impounded and towed from the scene. T12. McLeod

             also testified that based on his training and experience he believed that other contraband

             would be located in the vehicle, since Baskin did not live near the BP station and likely

             would carry additional quantities of drugs for his other deliveries. T13. However, he

             acknowledged that he had no information that additional drugs would be in the vehicle.

             T24-25.7

                   The ATF impound policy provided that an impounded vehicle must be

             inventoried to protect the property and to protect the ATF from claims of damage and

             that, in conducting an inventory search, all compartments and containers in the vehicle




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                         McLeod denied that his training and experience would lead him to
             conclude that Baskin would be unlikely to have other drugs in his car due to a fear of
             being robbed. T24.

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 6 of 22




             must be opened and searched. T13.8 Moreover, according to the APD impound policy,

             when an arrested person’s vehicle is not parked on his own property, or if the vehicle

             contains suspected contraband, the vehicle is inventoried and then towed. T14-15;

             Gov’t Exh. 1. The APD policy also provided that during an inventory search, all

             compartments, including the glove compartment and center console, are to be

             searched. T15.

                   In conducting an inventory search of the vehicle, a firearm was located in the

             center console. T25. McLeod also testified that it was typical to find firearms during

             drug transactions. T27.




                   8
                          The document introduced as the ATF policy does not expressly state that
             all compartments must be opened. Gov’t Exh. 1 at 9 [Doc. 32-2 at 9]. It also does not
             appear to be a complete version of the ATF policy. In any event, a standard procedure
             need not be written in order to be upheld as a valid inventory policy. United States v.
             Foskey, 455 Fed. Appx. 884, 890 (11th Cir. Jan. 9, 2012) (“[T]he government need not
             show that a written policy, city ordinance, or state law supports the impoundment.”)
             (citations omitted); see also United States v. Hawkins, 279 F.3d 83, 86 (1st Cir. 2002);
             United States v. Skillern, 947 F.2d 1268, 1275 (5th Cir. 1991); United States v.
             Beckford, No. 1:09-CR-263-TWT-GGB, 2010 WL 1487817, at *4
             (N.D. Ga. Feb. 2, 2010) (R&R), adopted in part, No. CRIM.109-CR-263-TWT,
             2010 WL 1489970 (N.D. Ga. Apr. 13, 2010), aff’d sub nom. United States v. Haile,
             685 F.3d 1211 (11th Cir. 2012).

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AO 72A
(Rev.8/82)
               Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 7 of 22




             II.   Arguments of the Parties

                   The Government argues that probable cause existed to stop and search the

             Charger. [Doc. 26 at 5]. It contends that (1) Brooks already had executed a search

             warrant for contraband at a location associated with Baskin; (2) the agents were using

             an informant who had proven reliable in the past to set up a drug deal with Baskin;

             (3) the CS told the agents that Baskin had agreed to sell two ounces of cocaine for

             $2000, the deal would occur at the BP station that day, and Baskin would be driving a

             black Dodge Charger; (4) the agents went to the location and saw Baskin in a vehicle

             just as the CS described; (5) Baskin sat in the Charger for several minutes without

             exiting the vehicle or pumping gas into it; (6) the CS entered the vehicle and called the

             agents with the code indicating that he had seen the cocaine; and (7) after the Charger

             drove across the street, the police stopped it and observed the cocaine in plain view of

             the passenger floorboard. [Doc. 26 at 6-7 & n.9]. The Government argues that taken

             all together, these circumstances justified the stop and search of the Charger and the

             arrest of the defendant. It contends that these facts demonstrate that Baskin was

             engaging in drug dealing and that the events were consistent with the information

             conveyed to the agents by the CS. [Id. at 7-8].




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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 8 of 22




                   The Government next argues that the search of the vehicle was consistent with

             Arizona v. Gant, 556 U.S. 332 (2009), because the agents had reason to believe that

             additional drugs, money or firearms would be located in the vehicle based on what they

             knew about Baskin’s activities, and McLeod’s training and experience led him to

             believe that there were other quantities of drugs secreted in the vehicle. [Doc. 26 at 9-

             10 (citing United States v. Brazel, 102 F.3d 1120, 1146-47 (11th Cir. 1997) (finding

             probable cause to justify a warrantless search of the vehicle because circumstances

             indicated that the car was used to facilitate drug offenses)].

                   The Government also argues that the Charger was properly searched pursuant to

             standardized inventory protocols. [Doc. 26 at 10-12]. It contends that both the ATF

             and APD impound/inventory policies provided for impound if the driver was arrested

             and no one was present who was authorized and capable of removing the vehicle, and

             that neither policies required law enforcement to locate a third party to take custody of

             the vehicle. [Id. at 12-13 (citing Gov’t Exh. 1)]. The Government also submits that law

             enforcement did not exceed the scope of the inventory policies because the policies

             authorized the opening of all compartments and containers.           [Id. at 13 (citing

             Gov’t Exh. 1)].




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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 9 of 22




                   In response, Baskin argues that probable cause was lacking to stop his vehicle.

             He argues that the sole basis for the stop was the CS’s statement that the drugs were

             there, however, Agent McLeod also testified that the CS previously provided

             information that Baskin characterizes as unreliable because the CS set up drug deals

             where the purported sellers did not appear. [Doc. 27 at 3]. Therefore, he argues, the

             stop was only supported by speculation. [Id.].

                   Baskin next argues that Gant does not support the search of the vehicle because,

             first, Baskin already was secured and thus had no access to the vehicle, and second, the

             agents did not have reason to believe that additional contraband or evidence would

             found in the Charger. He contends that the only evidence that more contraband would

             be located in the vehicle was McLeod’s bare belief that in his training and experience,

             Baskin “might have more” drugs if he was making more deliveries, a standard lower

             than Gant’s “reason to believe.” [Id. at 4-6 (citing T24)]. He argues that in order for

             a Gant search to properly be undertaken, there must be evidentiary support and not

             mere speculation. [Id. at 6]. Finally, he points out that the officers found the cocaine

             that was the subject of the deal in plain view, conceding that if the drugs were not

             visible, then a search of the vehicle would have been permissible. He contends that

             since law enforcement in fact located the two ounces of cocaine that the CS was

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 10 of 22




             arranging to buy, there was no reason to search for any additional cocaine, and, in any

             event there was no further exigency; thus, he submits, the vehicle could not be searched

             without a warrant. [Id. at 6-7].

                    As for the inventory-search rationale, Baskin argues that the vehicle was on

             private property, not blocking traffic, there was no request from the property owners

             to remove the vehicle, and thus was not properly subject to an inventory

             search. [Id. at 9-10]. He relies upon United States v. Pappas, 735 F.2d 1232, 1234

             (10th Cir. 1984), for the proposition that the mere fact that the vehicle’s owner is

             arrested on private property does not justify an impound and inventory search.

             [Id. at 10-11].

                    The Government did not file a reply brief. (See Dkt.).

             III.   Discussion

                    A.    Stop of the Charger, Baskin’s Arrest, and Seizure of Cocaine

                    The Court concludes that there was probable cause to stop the Charger and arrest

             Baskin.

                    “The question of what amounts to probable cause is purely a question of

             law. . . .” United States v. Tobin, 923 F.2d 1506, 1510 (11th Cir. 1991) (en banc)

             (citations and internal quotation marks omitted). Under the Fourth Amendment,

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 11 of 22




             individuals are protected from unreasonable searches and seizures by the government.

             Terry v. Ohio, 392 U.S. 1, 8 (1968). “This fundamental right is preserved by a

             requirement that searches be conducted pursuant to a warrant issued by an independent

             judicial officer.” California v. Carney, 471 U.S. 386, 390 (1985). “However, the

             search and seizure of vehicles without a warrant is permissible when the police have

             probable cause to believe a vehicle contains contraband.” United States v. Virden,

             488 F.3d 1317, 1321 (11th Cir. 2007).

                   When a confidential informant has provided information that contributes to a

             subjective belief by law enforcement officers that they had probable cause to make an

             arrest, the reviewing court may not accept that subjective determination but must make

             an objective determination of whether probable cause to make an arrest existed at the

             time of the arrest in light of the totality of the circumstances; including whether: the

             informant’s information was based on personal knowledge; he had a history of

             providing reliable information, and the information provided by the informant was

             corroborated by independent police work. See Illinois v. Gates, 462 U.S. 213, 225-41

             (1983); Ortega v. Christian, 85 F.3d 1521, 1525 (11th Cir. 1996).

                   Probable cause to make a warrantless arrest exists when, at the moment of arrest,

             the facts and circumstances within the collective knowledge of the officers involved are

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 12 of 22




             sufficient to cause a prudent person to believe that a defendant has committed, is

             committing, or was about to commit an offense. Michigan v. De Fillippo, 443 U.S. 31,

             37 (1979); United States v. Blasco, 702 F.2d 1315, 1324 (11th Cir. 1983); see also

             Virden, 488 F.3d at 1322 (“Probable cause exists when there is a fair probability that

             contraband or evidence of a crime will be found.”) (quotations omitted).

                   “In determining whether an informant’s tip rises to the level of probable cause,

             [courts] assess the totality of the circumstances.” Ortega, 85 F.3d at 1525 (citations

             omitted). “[Courts] consider the relevance of factors such as the informant’s ‘veracity,’

             ‘reliability,’ and ‘basis of knowledge.’ ” Id. (citations omitted). “In addition, the

             corroboration of the details of an informant’s tip through independent police work adds

             significant value to the probable cause analysis.” Id. (citations omitted). The main

             question is whether the tip “exhibited sufficient indicia of reliability” to justify the

             subsequent . . . arrest. United States v. Gibson, 64 F.3d 617, 620 (11th Cir. 1995) (citing

             Alabama v. White, 496 U.S. 325, 332 (1990)).

                   Under the totality of the circumstances, the Court finds that the officers had

             probable cause to stop the Charger and conduct a warrantless arrest of Baskin. The

             ATF agents were utilizing a CS whose information in the past had led to arrests of

             federal and state defendants. That on occasion the CS arranged for a deal that was

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 13 of 22




             unsuccessful because the seller did not show up does not render the CS’s information

             unreliable. Cf. United States v. Akins, No. 4:07-CR-48 CAS, 2007 WL 1018761, at *6

             n.2 (E.D. Mo. Apr. 2, 2007) (holding that search warrant was not invalid where affiant

             averred that he had used reliable informant on numerous occasions that led to at least

             three arrests for narcotics violations; “[t]he affidavit does not state nor should it be read

             to mean that on occasions when arrests did not occur that the informant’s information

             was not reliable”). There is no evidence, for example, that the CS reported to law

             enforcement that there were drugs present when in fact there were no drugs, or that

             persons were arrested based on false or incorrect information provided by the CS.

                    More importantly, two pieces of information from the CS rendered the

             information about Baskin reliable. First, the CS gave detailed information about the

             time and location of the deal and the vehicle Baskin was driving, and these facts were

             verified by independent police investigation. It is true that a tip that relays only

             presently observable facts “might not be sufficient in and of [itself] to lend the

             necessary credence to the informant’s tip to create a reasonable suspicion of drug

             trafficking.” United States v. Brown, 636 Fed. Appx. 514, 519 (11th Cir. Jan. 11, 2016)

             (quoting United States v. Lee, 68 F.3d 1267, 1271 (11th Cir. 1995)). Significantly,

             however, the agents observed Baskin sitting for some time in the described vehicle at

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 14 of 22




             the gas pumps without exiting the vehicle or pumping gas, lending credence to the CS’s

             information that Baskin was waiting on the CS to arrive to conduct a drug deal. See

             United States v. Angulo-Lopez, 791 F.2d 1394, 1397 (9th Cir. 1986) (holding that

             informant’s reliability may be demonstrated through independent police corroboration

             of information provided); see also Gates, 462 U.S. at 244 (“Because an informant is

             right about some things, he is more probably right about other facts . . .”) (quoting

             Spinelli v. United States, 393 U.S. 410, 427 (1969) (White, J., concurring)).

                   Second, and more important, the CS reported to the agents that he had seen the

             cocaine. Brown, 636 Fed. Appx. at 519 (“The tip also exhibited reliability because the

             informant personally witnessed Brown dealing drugs.”); United States v. Vazquez,

             406 Fed. Appx. 430, 431 (11th Cir. Dec. 28, 2010) (finding probable cause for arrest

             where “law enforcement officers had reasonably trustworthy information that would

             cause a prudent person to believe that Vazquez was committing a felony, based on

             information from a confidential informant, who had obtained cocaine previously from

             Vazquez and who personally observed cocaine in the floorboard of Vazquez’s vehicle

             shortly before the arrest.”); United States v. Brundidge, 170 F.3d 1350, 1352-53

             (11th Cir. 1999) (holding that a stronger showing of an informant’s basis of knowledge

             may make up for weakness in a showing of veracity); United States v. Robinson,

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 15 of 22




             202 Fed. Appx. 434, 436 (11th Cir. Oct. 27, 2006) (“An ‘explicit and detailed

             description of alleged wrongdoing, along with a statement that the event was observed

             firsthand, entitles the [confidential informant’s] tip to greater weight than might

             otherwise be the case.’ ”) (quoting Brundidge, 170 F.3d at 1353) (citations omitted in

             original); see also United States v. Reyes, 792 F.2d 536, 539 (5th Cir. 1986) (holding

             that “an informant’s tip is buttressed [through] the fact that it is based on his own

             personal observation”).

                   Therefore, law enforcement had probable cause to stop the Charger and arrest

             Baskin. The cocaine was properly seized since it was in plain view. Horton v.

             California, 496 U.S. 128, 136-137 (1990); United States v. Hromada, 49 F.3d 685, 690

             (11th Cir. 1995).

                   B.     Further Search of the Charger Resulting in Seizure of Firearm

                   As noted, the Government argues that the Charger was further searched and the

             firearm seized properly based on Gant and an inventory search.9

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                            The Government did not argue that the search of the Charger was justified
             under the co-called “automobile exception” to the Warrant requirement of the Fourth
             Amendment. The automobile exception allows officers to search any item or
             compartment in the car that might contain the object of the search without a warrant,
             as long as they have probable cause to believe that it holds evidence of a crime. United
             States v. Strickland, 902 F.2d 937, 942 (11th Cir. 1990). The automobile exception does
             not contain a separate exigency requirement. Maryland v. Dyson, 527 U.S. 465, 466-

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 16 of 22




                           1.     Gant

                    In Gant, the Court held that a search incident to arrest, following an automobile

             stop, is permissible if either (1) it is reasonable to believe that the arrestee might access

             the vehicle at the time of the search, or (2) if it was “reasonable to believe” that the car

             contained evidence of the offense of the arrest. Gant, 556 U.S. at 335. In this case, the

             Government did not present any evidence that Baskin could have gained access to the

             vehicle following his arrest, and so the Court evaluates whether the search of the

             vehicle was valid under Gant’s second prong. Gant provides that “circumstances

             unique to the vehicle context justify a search incident to a lawful arrest when it is

             reasonable to believe evidence relevant to the crime of arrest might be found in the

             vehicle.” Gant, 556 U.S. at 343 (quotation omitted). In such a case, “the offense of

             arrest will supply a basis for searching the passenger compartment of an arrestee’s

             vehicle and any containers therein.” Id. As to the vehicle exception, the Gant Court



             67 (1999). “If a car is readily mobile and probable cause exists to believe it contains
             contraband, the Fourth Amendment permits police to search the vehicle without more.”
             Id. at 467 (quotation omitted). “[T]he requirement of exigent circumstances is satisfied
             by the ‘ready mobility’ inherent in all automobiles that reasonably appear to be capable
             of functioning.” United States v. Nixon, 918 F.2d 895, 903 (11th Cir. 1990). Since the
             Government did not raise it, the Court will not decide whether the automobile exception
             allowed the search of the Charger that led to the discovery of the firearm in the center
             console.

                                                          16



AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 17 of 22




             itself observed that “[i]f there is probable cause to believe a vehicle contains evidence

             of criminal activity, United States v. Ross, 456 U.S. 798, 820-[]21[ ] (1982), authorizes

             a search of any area of the vehicle in which the evidence might be found. . . . Ross

             allows searches for evidence relevant to offenses other than the offense of arrest, and

             the scope of the search authorized is broader.” Gant, 556 U.S. at 347 (internal citations

             omitted).

                   Thus, independent of McLeod’s belief that Baskin may have secreted additional

             drugs in the Charger, the fact that Baskin told the CS the type of vehicle he was going

             to use to deliver the cocaine, and then he arrived in that vehicle to deliver cocaine to the

             CS, provided a basis under Gant for law enforcement to search the vehicle for the

             presence of evidence (which may or may not include additional contraband) related to

             Baskin’s distribution of a trafficking amount of cocaine to the CS in his vehicle.

             Therefore, the firearm was properly found and seized.10

                   10
                           The Court also notes that Baskin’s argument that McLeod had no reason
             to believe that additional drugs would be found in the Charger because in fact no
             additional quantities of drugs were found, is off the mark. The validity of a search is
             not dependent upon what it reveals. Bumper v. North Carolina, 391 U.S. 543, 548
             n. 10 (1968) (search not justified by what it turns up); United States v. Di Re,
             332 U.S. 581, 595 (1948) (“We have had frequent occasion to point out that a search
             is not to be made legal by what it turns up. . . . In law it is good or bad when it starts
             and does not change character from its success.”) (footnote omitted). Consequently,
             a search is not invalidated simply because it results in no contraband or incriminating

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AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 18 of 22




                          2.    Inventory Search

                   Additionally and, if the District Judge concludes that the undersigned’s Gant

             analysis is incorrect, alternatively, the Charger was properly searched pursuant to the

             inventory exception. An inventory search conducted according to standardized criteria

             constitutes one of the well-defined exceptions to the probable cause and warrant

             requirements of the Fourth Amendment. Colorado v. Bertine, 479 U.S. 367, 371

             (1987); South Dakota v. Opperman, 428 U.S. 364 (1976). To satisfy the so-called

             inventory search exception, the Government bears the burden to demonstrate that the

             officers possessed the authority to impound the vehicle and followed departmental

             policy in conducting the search.         United States v. Witten, No. 14-14692,

             2016 WL 2803047, at *6 (11th Cir. May 13, 2016) (citing United States v. Williams,

             936 F.2d 1243, 1248 (11th Cir. 1991)). Thus, law enforcement may lawfully impound

             a vehicle when they have arrested its occupant—even if the vehicle is not impeding

             traffic or otherwise presenting a hazard—“so long as the decision to impound is made

             on the basis of standard criteria and on the basis of something other than suspicion of

             evidence of criminal activity.”       Sammons v. Taylor, 967 F.2d 1533, 1543

             (11th Cir. 1992) (quoting Bertine, 479 U.S. at 375). If the vehicle has been impounded


             evidence being uncovered.

                                                       18



AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 19 of 22




             lawfully, an officer may conduct an inventory search, including a search of closed

             containers, “ ‘provided the search is conducted pursuant to standardized criteria.’ ”

             Witten, 2016 WL 2803047 at *6. Although inventory searches cannot serve as pretext,

             “ ‘the mere expectation of uncovering evidence will not vitiate an otherwise valid

             inventory search.’ ” Id. (quoting United States v. Bosby, 675 F.2d 1174, 1179

             (11th Cir. 1982)). “An inventory search is not a surrogate for investigation, and the

             scope of an inventory search may not exceed that necessary to accomplish the ends of

             the inventory.” United States v. Khoury, 901 F.2d 948, 958 (11th Cir. 1990) (citing

             United States v. Laing, 708 F.2d 1568, 1570 (11th Cir. 1983)).

                   In the present case, the APD impound policy provided, in relevant part, at

             § 4.13.6, that

                   A vehicle will be impounded if:

                          1.    The driver is arrested, not qualified, not capable to
                                drive the vehicle due to impairment, or not having a
                                valid license, and:

                                a.    The operator refuses to release the
                                      vehicle to a person of his or her own
                                      choosing who is present and is properly
                                      qualified and capable of operating the
                                      vehicle, or there is no such person
                                      present.



                                                      19



AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 20 of 22




                                 b.     The vehicle is not parked at his or her
                                        residence or property.

             Gov’t Exh. 1 at 4-5; [see also Doc. 32-2 at 4-5] (emphasis added). In this case, the

             vehicle was impounded properly because Baskin was arrested, there was no other

             person to retrieve the vehicle, and the vehicle was not on Baskin’s residence or

             property. It is irrelevant that the Charger was on private property when the private

             property was not Baskin’s. As a result, Pappas is not helpful because the impound

             policy in that case violated Opperman, since it authorized the impounding of a vehicle

             solely based on the arrest of the driver, untethered from the community-caretaking

             rationales underlying an inventory search, i.e., to protect the owner’s property in police

             custody, to protect the police against claims of lost or stolen property, and to protect the

             police from potential danger. Pappas, 735 F.2d at 1234. In the present case, both the

             APD and the ATF impound policies were based on law enforcement’s community

             caretaking functions. APD: T14; ATF: Gov’t Exh. 1 at 9 [Doc. 32-2 at 9] (“The

             inventory search may be conducted only to protect the owner’s property and to protect

             ATF against potential claims and dangers and is part of the standard procedure and not

             a pretext for an investigatory search.”)]. Moreover, in Pappas, the court noted that the

             defendant’s friends were present and possibly able to secure the vehicle. Pappas,



                                                         20



AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 21 of 22




             735 F.2d at 1234. In the present case, there was no such person present since both

             Baskin and Perkins were arrested. Neither impound/inventory policy in this case

             required that Baskin be afforded an opportunity to locate a person to take possession

             of the vehicle, and the Supreme Court has recognized that the Fourth Amendment is not

             violated merely by the police impounding a vehicle rather than permitting an arrestee

             to make alternative arrangements for the vehicle’s disposition.           See Bertine,

             479 U.S. at 373-74.

                   Finally, although not challenged by Baskin, the search of the center console

             resulting in the discovery of the firearm was well within the scope of the inventory

             search. Gov’t Exh. 1 at 6 (“When conducting an inventory search, the officer will

             search all compartments (passenger, engine, trunk, etc.)”) [Doc. 32-2 at 6]. Therefore,

             the searching officers were authorized to open the center console and seize the firearm

             located therein.

             IV.   Conclusion

                   For all of the foregoing reasons, the undersigned RECOMMENDS that Baskin’s

             motion to suppress evidence, [Doc. 13], be DENIED, and that his motion to suppress

             statements, [Doc. 14], be DENIED AS MOOT.

                   The Court has now disposed of all matters referred to it, and has not been advised

                                                       21



AO 72A
(Rev.8/82)
              Case 1:14-cr-00293-TCB-AJB Document 43 Filed 08/24/16 Page 22 of 22




             of any impediments to scheduling a trial. Accordingly, this case is CERTIFIED

             READY FOR TRIAL.

                     IT IS SO RECOMMENDED AND CERTIFIED, this 24th day of August,

             2016.




                                                  22



AO 72A
(Rev.8/82)
